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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ILLINOIS
                            (East St. Louis)

MARION HEALTHCARE, LLC, et al.,         Case No. 18-cv-1059-NJR

             Plaintiffs,                DATE: February 23, 2021

v.                                      TIME: 3:00 PM – 4:40 PM

BECTON DICKINSON & COMPANY,             COURT REPORTER:
et al.,                                 Stephanie Rennegarbe

             Defendants.                COURTROOM DEPUTY:
                                        Deana Brinkley

                           MINUTES OF COURT
PRESIDING: Honorable Nancy J. Rosenstengel, Chief U.S. District Judge

COUNSEL FOR PLAINTIFFS: Steven Molo, Allison Gorsuch, Justin Ellis

COUNSEL FOR DEFENDANTS: Jacqueline Rubin, Richard Cassetta, Robert
Atkins, Stefani Wittenauer, William Michael, Michelle Fischer, Patrycja
Ochman, Richard Stone, David Singer, and Michael Brody.
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Matter called for hearing by video conference as to [151] Motion to Dismiss and
[152] Motion to Dismiss.

Arguments heard. Motions taken under advisement. Order to issue.
